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IN THE UNITED STATES DISTRICT COURT ae
FOR THE MIDDLE DISTRICT OF FLORIDA 0)
ORLANDO DIVISION an
Maurice Gray,
Plaintiff,
Vv.
Experian Information Solutions, Inc.,
Defendant.
Case No.:

COMPLAINT FOR VIOLATIONS OF
THE FAIR CREDIT REPORTING ACT

COMES NOW, Plaintiff Maurice Gray (“Plaintiff”), and files this Complaint against
Defendant Experian Information Solutions, Inc. (“Defendant” or “Experian”), and alleges as

follows:

INTRODUCTION

1. This is an action brought under the Fair Credit Reporting Act (FCRA), 15 U.S.C. § 1681
et seq., to address Defendant’s willful and/or negligent violations of Plaintiff’s rights as a
consumer. Defendant has repeatedly failed to comply with its obligations under the
FCRA, resulting in substantial harm to Plaintiff, including denial of housing, monetary

expenses, emotional distress, and damage to Plaintiff’s creditworthiness.

2. Plaintiff seeks actual damages, statutory damages, punitive damages, costs, and attorney’s
fees for Defendant’s violations of the FCRA, as well as injunctive relief to remedy the

harm caused by Defendant’s misconduct.
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3. Defendant’s actions are part of a widespread pattern of misconduct, as evidenced by a
2023 lawsuit filed by the Consumer Financial Protection Bureau (CFPB) against
Experian. The CFPB lawsuit alleges systemic failures by Experian to comply with its
obligations under the FCRA, including failing to conduct meaningful investigations of

consumer disputes and knowingly reporting inaccurate information, which mirrors the

conduct Plaintiff has experienced in this case.

JURISDICTION AND VENUE

4, This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because this

action arises under the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq.

5. This Court has personal jurisdiction over Defendant because Defendant conducts
substantial business in Florida, including within this District, and the violations at issue

occurred within this District.

6. Venue is proper in the Middle District of Florida, Orlando Division, pursuant to 28
U.S.C. § 1391(b), because a substantial part of the events or omissions giving rise to
Plaintiff’s claims occurred in this District.

PARTIES

7. Plaintiff Maurice Gray is a natural person residing in Orange County, Florida, and is a

“consumer” as defined by 15 U.S.C. § 168 lac).
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8. Defendant Experian Information Solutions, Inc. is a consumer reporting agency as
defined by 15 U.S.C. § 1681a(f), regularly engaged in the business of compiling and
reporting consumer information to third parties. Defendant’s principal place of business is

located at 475 Anton Blvd., Costa Mesa, CA 92626,

FACTUALALLEGATIONS

9. Plaintiff is a victim of identity theft. As a result, inaccurate and fraudulent accounts and

information were added to Plaintiff’s credit report without authorization.

10. Plaintiff submitted four dispute letters to Defendant between August 2024 and December
2024, requesting the removal of inaccurate and fraudulent accounts and information.
Plaintiff provided all required documentation to substantiate the identity theft, including:

- Acopy of Plaintiff's government-issued identification.

- Acopy of Plaintiff’s Social Security card.
- Proof of Plaintiff’s address.
- Acopy of the FTC Identity Theft Report.

- Acopy of the police report.

11. The inaccurate and fraudulent information reported by Defendant includes, but is not
limited to:

- JPMCB Card Services — Account No. [last 4 digits: 5999], Balance: $11,767.
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12.

American Express — Account No. [last 4 digits: 2013], Balance: $996.

American Express ~- Account No. [last 4 digits: 0163], Balance: $2,444.

Achieva Credit Union — Account No. [last 4 digits: 3000], Balance: $18,689.

Space Coast CU — Account No. flast 4 digits: 1981], Balance: $14,809.

SoFi Bank, National — Account No. [last 4 digits: 51], Balance: $61,500.

LVNV Funding LLC ~ Account No. [last 4 digits: 32], Balance: $61,500.

Keystone Collection — Account No. [no digits listed], Balance: $26,417.

Inaccurate and fraudulent address: 3457 King George Dr, Orlando, FL 32835, 11640

Baltic St Orlando, FL 32817.

Despite receiving Plaintiff’s disputes and supporting documentation, Defendant:

Failed to conduct reasonable reinvestigations into the disputes, in violation of 15 U.S.C. §
168 1i(a).

Failed to delete inaccurate or unverifiable information, in violation of 15 U.S.C. §

168 1i(a)(4).

Failed to block inaccurate and fraudulent information resulting from identity theft, in
violation of 15 U.S.C. § 1681c-2(a).

Failed to notify Plaintiff of the results of its reinvestigations, in violation of 15 U.S.C. §
168 1i(a)(6).

Failed to provide Plaintiff with a written description of the procedures used to verify the

disputed information, in violation of 15 U.S.C. § 16811(7).

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13. Other consumer reporting agencies, including Equifax and TransUnion, promptly
removed the inaccurate and fraudulent information following Plaintiffs disputes.

Defendant remains the only agency reporting the inaccurate and fraudulent information.

14. Defendant’s failure to comply with the FCRA has caused Plaintiff significant harm,

including:

- Actual Damages: Plaintiff has incurred $7,423.52 in hotel and rental car expenses due to

being denied housing and transportation.

- Emotional Distress: Plaintiff has suffered stress, anxiety, and frustration as a result of

Defendant’s actions.

- Reputational Harm: Plaintiffs creditworthiness has been severely impacted, resulting in

denial of housing and financial opportunities.

CAUSES OF ACTION

COUNT I

Willful Violations of the FCRA (15 U.S.C. § 1681n)
15. Plaintiff repeats and realleges all preceding paragraphs as if fully set forth herein.
16. Defendant willfully violated the FCRA by:

- Failing to follow reasonable procedures to ensure maximum accuracy of Plaintiff’s credit

report (15 U.S.C. § 1681e(b)).

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Failing to conduct reasonable reinvestigations of Plaintiff's disputes (15 U.S.C. §
168 Lifa)).

Failing to delete inaccurate or unverifiable information (15 U.S.C. § 1681i(a)(4)).

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Failing to block inaccurate and fraudulent information (15 U.S.C. § 1681¢-2(a)).

Failing to notify Plaintiff of results of reinvestigations (15 U.S.C. § 16811i(a)(6)).

Failing to provide verification procedures (15 U.S.C. § 16811(7)).

17. As a result, Plaintiff is entitled to statutory damages, actual damages, punitive damages,

costs, and attorney’s fees,

COUNTIH

Negligent Violations of the FCRA (15 U.S.C. § 16810)

18. Plaintiff repeats and realleges all preceding paragraphs as if fully set forth herein.

19. Defendant negligently failed to comply with the FCRA, causing harm to Plaintiff.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests the Court award the following:

1. Statutory Damages: $31,000 for 31 violations of the FCRA.
2. Actual Damages: $7,423.52 for financial expenses.

3. Punitive Damages: $93,000—-$155,000 (3-5* statutory damages).
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4. Costs and Attorney’s Fees: Pursuant to 15 U.S.C. § 1681n and § 1681o.
5. Injunctive Relief: An order requiring Defendant to delete the inaccurate and fraudulent

information and implement procedures to prevent future violations.

Respectfully Submitted,

/s/ Gray, Maurice:

Maurice Gray

P.O. Box 677305

Orlando, FL 32867
hiddenvaughntho@gmail.com

Sui Turis Plaintiff

